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           EXHIBIT 3
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                                                                                                                         SUBCONTRACT AGREEMENT

                                                                                                                            1490 S. Price Rd. Suite # 211
                                                                                                                            Chandler, AZ 85286
                                                                                                                            Phone: (602)900-1551 X9013
                                                                                                                            Mobile: (520)678-2164


SUBCONTRACT AGREEMENT (“Subcontract”) MADE BETWEEN KOMAN Construction, LLC (KC) and:
(Include name, address, phone and fax #'s below; also, include Subcontractor's remit to address if different)


           L&J Contractors, Inc.                                                                                  Date: December 19, 2018
           1824 Piney Ln.
                                                                                                         Subcontractor # KC-CBP-SA-21
           Gautier, MS 39553
                                                                                                                  Job # CBP-EP-001
                                                                                                         Job Name San Angelo - Air Unit Electrical
                                                                                                                               Infrastructure & Bldg. Repairs
           ATTN: Lucas&ljcontractorsinc.com
                                                                                                                               San Angelo, TX
           Phone (520)221-5326
                                                                                                        Contract #: 70B01C18C00000160
           Fax        N/A
                 Federal Tax ID # XX-XXXXXXX
                         DUNS # 081193566
1. THE PROJECT.
Owner:   DHS - Customs & Border Protection (CBP)

General Contractor:         KOMAN Construction, LLC
2. THE WORK.
Subcontractor shall furnish anything necessary to complete in place the Install all concrete footer, pads mezzanine concrete and associated work. Install all building
framing, insulation, backer, casework, sheetrock, paint, doors, Dr. HDWR., flooring, concrete, ceilings, miscellaneous trim, exterior excavation, landscape, demolition,
all bolts for steel structures, coordination with other trades, fire proofing, caulking, and any additional work associated with general trades.
work in strict accordance with the Contract Documents. If the subcontractor is union, he shall include all work claimed by his union in his subcontract price.
3. INDEMNITY AND INSURANCE.
Subcontractor agrees to defend, indemnify and hold harmless KC, GC and/or Owner and their agents and employees, from and against any claim, cost, expense or
liability (including attorney’s fees) attributable to bodily injury, sickness, disease or death, or damage, loss or destruction of property (including loss of use thereof),
caused by, arising out of, resulting from or occurring in connection with the performance of the Work by Subcontractor, its subcontractors, or their agents or
employees, whether or not caused in part by the active or passive negligence or other fault of a party indemnified hereunder; provided, however, Subcontractor’s
duty hereunder shall not arise if such injury, sickness, disease, death, damage or destruction is caused by the sole negligence of a party indemnified hereunder.
Subcontractor’s obligation hereunder shall not be limited by the provisions of any workman’s compensation or similar act, or by the provisions, scope of limitations of
any insurance requirements or coverage.

Should GC, Owner or any other person assert a claim or institute a suit, action, or proceeding against KC involving the manner or sufficiency of the performance of
Subcontractor’s work, Subcontractor shall, upon request of KC, promptly assume the defense of such claim, suit, action, or proceeding, at Subcontractor’s expense,
and Subcontractor shall indemnify and hold harmless KC and its agents and employees, from and against any liability, loss, damage, or expense arising out of or
related to such claim, suit, action or proceeding.

Said indemnity shall be insured from an acceptable insurance carrier naming KC and any other parties required by the Contract Documents as an additional insured
for limits required by the Contract Documents, unless the limits set forth below are greater, in which case the limits set forth below shall be required:

Before Subcontractor does any work at, or delivers material to the project site, the Subcontractor shall provide Certificates of Insurance evidencing coverage in
amounts not less than required by the Contract Documents or as follows whichever limits are greater:
            WORKERS COMPENSATION & EMPLOYER'S LIABILITY
                                                                                                                 LIMIT
            Workers Compensation coverage for the state in which the project is located
                    Each Accident                                                                               Statutory
                    Disease Policy Limit                                                                        $500,000
                    Disease Each Person                                                                         $500,000

            COMMERCIAL GENERAL LIABILITY

         A broad form Commercial General Liability policy written on an occurrence form that will respond on a primary and non-contributory basis for the
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           following coverage: Premises Operation, Independent Contractors, Explosion, Collapse & Underground, Broad Form Contractual Liability, Personal Injury
           Liability (with employee and contractual exclusions deleted), and Products/Completed operations for a period of not less than three years after
           completion of the project.
                                                                                                   LIMIT
           Each Occurrence                                                                        $1,000,000
           General Aggregate Per Project                                                          $2,000,000
           Personal Injury Liability                                                              $1,000,000
           Products/Completed Operations                                                          $2,000,000

           COMMERCIAL AUTOMOBILE LIABILITY
           Providing coverage for Owned, Hired, Rented and Non-Owned automobiles.                  LIMIT
           Bodily Injury & Property Damage - Combined Single Limit                                $1,000,000

           UMBRELLA LIABILITY

           Written in excess of the insurance coverages provided by the above policies, on an occurrence form, with terms & conditions at least as broad as the
           coverage provided in the above policies.
                                                                                                  LIMIT
           Each Occurrence                                                                      $1,000,000
           Aggregate Per Project                                                                $1,000,000

           PROPERTY INSURANCE
           Covering all materials, equipment, and the work itself, including property in transit or in temporary storage away from the project site, in a limit equal to
           the full value of the Subcontract.
           PROFESSIONAL LIABILITY (E&O) for A/E subs, if applicable,                                  LIMIT
                                                                                                      $1,000,000.00

           All policies except Workers Compensation, and E&O, if applicable, will be endorsed to include KC as an Additional Insured for both Premises and
           Completed Operations. Certificates of Insurance shall reference the specific project and state “KC (and any other parties required by the contract
           documents) are named as Additional Insured for both Premises and Completed Operations on General Liability and Umbrella Liability coverages.”
           Subcontractor and its insurance carriers waive all rights of subrogation against KC and all other additional insureds, and shall evidence such waiver on the
           Certificate of Insurance. At least 30 days written notice shall be given to KC prior to the cancellation, non-renewal or material modifications to any of
           these policies.

The Subcontractor shall submit insurance certificates to KC before beginning work, but in no event later than 30 days after signing contract. Subcontractor
acknowledges and agrees that One Hundred Dollars ($100) of the Subcontract Price represents specific consideration paid to the Subcontractor for all
indemnifications from Subcontractor hereunder.

4. BONDS.
The Subcontractor shall or shall not (circle one) furnish performance or payment bonds each with a penal sum equal to the Subcontract Price in satisfactory form and
substance from a satisfactory Surety (which at a minimum, must be an approved Surety for bond limits described in U.S. Treasury Circular 570), which bonds shall
carry the Surety’s consent to waive notice or approval of changes in scope price and time of performance and any other terms necessary to conform to the
requirements of the Contract Documents.

Furnishing of the said bond shall be a condition precedent to KC’s obligation to release partial payments. Subcontract Price includes the sum of
0.00 / Bond is Waived, but 10% retention will be held in place of a bond. to cover the Subcontractor’s cost for the Bond.

5. THE CONTRACT DOCUMENTS.
         A. The Contract Documents for this Subcontract consist of the six pages of this Agreement and the following list of documents all
             of which are incorporated by reference and made a part hereof:
             1. All exhibits and attachments hereto;
             2. The agreement between the Owner and KC, including all general and supplemental conditions if any;
             3. Where applicable, the agreements between the Owner and the General Contractor, and the General Contractor and KC (if KC is not the General
               Contractor) Note: Whenever in this Subcontract reference is made to “Owner and/or GC” it shall mean the Owner, as identified in Article 1, above,
               unless KC has contracted with a General Contractor , in which case it shall mean both Owner and General Contractor, as the context shall require .
             4. Attachments A and B
             5. Davis Bacon Wage Determination: modification in force at the time the RFP is issued, TX180336 MOD01 09/14/2018 TX336

           B.   The Work to be performed by Subcontractor specifically includes but is not limited to the following specification sections and
                contract drawings:
                     Attachments A and B




6. SPECIAL NOTES.
         A. A complete set of 1 electronic and 5 hard copy submissions for Architect/Engineer approval of this Subcontract work shall be

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                submitted by the Subcontractor to KC not later than 10 days from contract award as required by the Scope of Work and shall
                include without limitation the following items:
                      Schedule for the Work, Schedule of Values, Material Data, Shop Drawings, Material Safety Data Sheets, submittals. Close out Documents will be
                        requested at a later date as seen in the contract schedule. This includes O&M’s


           B.   If, in addition to Attachments A and B a scope sheet is attached to this Subcontract, such scope sheet is made a part of the
                Contract Documents:


7. THE SUBCONTRACT PRICE.
As full and complete compensation for performance of this Subcontract, KC agrees to pay the Subcontractor in current funds for the satisfactory performance of the
Work, subject to all applicable provisions of this Subcontract, the fixed price of:


Two Hundred Sixty-One Thousand Three Hundred Seventy-Six 14/100.                                                            Dollars ($261,376.14)
subject to additions or deductions as provided in this Subcontract.


8. FLOW-DOWN RELATIONSHIP. The Subcontractor agrees to be bound to KC in the same way KC is to the Owner and/or General Contractor (GC) and shall bear all
rights, obligations, benefits and liabilities with respect to KC as KC has with respect to the Owner and/or GC, except that this Subcontract shall govern any
inconsistent provision of the Contract Documents, provided however, where the obligations of KC to the Owner and/or GC under the Contract Documents differ from
the obligations of the Subcontractor under this Subcontract, the Subcontractor’s obligations shall be no less stringent than KC’s obligations.
9. PRICE AND PAYMENT. The Subcontract Price shall be paid in partial payments, after receipt by KC from the Owner and/or GC, to Subcontractor in trust for the
payment by Subcontractor for work in place and material on jobsite. Actual receipt by KC of payment for Subcontractor's work is an express condition precedent to
KC's obligation to make payments to Subcontractor. Ten percent (10%) retention shall be withheld until final payment is due, except that retainage may, at KC's sole
discretion, be reduced in the same fashion that Owner/GC's retainage withheld from KC is reduced. Final payment shall be due after completion of all work,
acceptance by the Owner, compliance with all subcontract obligations and receipt of final payment from the Owner, which items shall be conditions precedent to the
making of final payment to Subcontractor. KC must receive satisfactory proof of payment for labor, material and services used before any payment becomes due.
Material paid for shall belong to KC but shall remain in the care, custody and control of Subcontractor and stored at Subcontractor's risk. Subcontractor shall furnish
guarantees and all other documents required by the Contract Documents for the Subcontractor's work, including releases as a condition precedent for payment.
Liquidated damages or other reductions in progress payments withheld by Owner and or GC from KC may will be assessed against and withheld from Subcontractor
for delay or any other damages which may, in KC’s reasonable opinion be attributable to Subcontractor's fault, acts or omissions, or failure to satisfactorily perform
the Work.
The Subcontractor shall l itemize the subcontract price as a basis for establishing value of work completed and partial payments. This Schedule of Values must include
line items for as-built drawings, punchlist and O&M manuals unless otherwise agreed in writing. If at any time, KC in its sole judgment, or at the direction of the
Owner or GC, determines that the portion of the Subcontract Price then remaining unpaid will not be sufficient to complete the Work in accordance with the Contract
Documents, no additional payment will be due Subcontractor unless and until Subcontractor performs a sufficient portion of the Work so that the Subcontract Price
then remaining unpaid is determined by KC to be sufficient to complete the Work in accordance with the Contract Documents. No partial payment made hereunder
shall be construed to be final acceptance or approval of that part of the Work to which such partial payment relates to or to relieve Subcontractor of any of its
obligations hereunder with respect to such Work.
10. SHOP DRAWINGS, SAMPLES AND DATA SUBMISSIONS.
All submittals such as shop drawings, catalogs, samples and material lists required by the Contract Documents which pertain to Subcontractor's work shall be
furnished complete and timely. Subcontractor shall be responsible for delays because of failure to do so and for any deviation from plans and specifications.
. All proposed deviations from the Contract Documents must be noted clearly on the submittals and by separate cover letter, the Subcontractor shall state reasons for
the proposed deviation and refer to the applicable provision allowing such deviation in the Contract Documents. No such proposed deviation shall be approved
without the consent of Owner as provided in the Contract Documents. l
11. TIME IS OF THE ESSENCE. Subcontractor shall proceed with work at no extra cost to KC, at such time and in such sequence as KC may direct including overtime
performance as necessary and as required by the project schedule which may be subject to change as working conditions require. Payments due may be withheld to
insure timely progress and completion of work.
The Subcontractor shall be liable for all losses and damages incurred by KC, whether direct or consequential and including, without limitation, actual or liquidated
damages assessed against by Owner and/or GC due to delay of the Subcontractor in the performance of the Work.
12. EXTENSIONS OF TIME. For any delay which is or may be attributable to the Owner and/or GC, Subcontractor shall be entitled to an extension of time for
performing and completing its Work upon the same terms and conditions an extension of time is allowable, but only to the extent a time extension is actually allowed
to KC by Owner and/or GC under the terms of the Contract Documents on account of Subcontractor’s delay. Notice of the potential or actual excusable delay shall be
given to KC in writing within five (5) calendar days from the day the Subcontractor becomes, or should become aware of the delay or from the beginning of said delay,
whichever is first, in order that KC may in turn notify the Owner and/or GC, unless a shorter time for notice is required in the Contract Documents, in which case the
shorter time shall apply. If notice is not timely given said excusable delay shall be considered waived by Subcontractor. The Owner or GC's decision with regard to the
delay, including the assessment of liquidated damages, shall be binding upon and chargeable to the Subcontractor, subject only to the disputes procedure provided in
Article 19A, Disputes and the Contract Documents.
13. DAMAGES FOR DELAY, ACCELERATION, INEFFICIENCY. KC shall not have any liability to Subcontractor for any delay, acceleration, or inefficiency damages or
claims resulting or arising from any act or omission of KC, KC’s subcontractors or KC’s vendors; or any other cause except as specifically provided immediately below
for damages or claims due to Owner or GC acts or omissions.



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Damages due to Owner and/or GC delay Subcontractor’s sole remedy for delay, acceleration, or inefficiency damages arising out of acts or omissions of the Owner
and/or GC, or error or omissions in the Contract Documents shall be the amounts KC recovers against the GC or Owner, for “pass-through” claims and only if
Subcontractor timely notifies KC of such claims and timely submits to KC such claims. If, in the discretion of KC, any alleged delay, acceleration or inefficiency
damages or claims by Subcontractor are not recoverable against the Owner or GC, KC shall have no obligation to “pass through” such claims. KC’s good faith exercise
of its sole discretion in determining that such damages or claims are not recoverable against Owner or GC shall NOT result in liability to KC for any claims or damages.
14. SCHEDULE. If requested, Subcontractor agrees to meet with and/or provide to KC detailed information for KC to prepare job schedules, including cost loaded
schedule information, at no additional cost to KC. Subcontractor shall provide any notice, time extension, or time related claim information required by the Contract
Documents.




15. DEFAULT. Should Subcontractor at any time: (a) fail to supply the labor, materials, equipment, supervision and other things required of it in sufficient quantities
and of sufficient quality to perform the Work with skill, conformity, promptness and diligence required hereunder, (b) cause stoppage or delay of or interference with
the Project work, (c) become insolvent, or (d) fail in the performance or observance of any of the covenants, conditions, or other terms of this Subcontract, then in
any such event, each of which shall constitute an event of default hereunder by Subcontractor, KC shall, after giving Subcontractor written notice of default and five
(5) calendar days within which to cure such default,, have the right to exercise any one or more of the following remedies:

(i) require that Subcontractor utilize, at its own expense, overtime labor (including Saturday and Sunday work) and additional shifts as necessary to overcome the
consequence of any delay attributable to Subcontractor’s default;

(ii) as an alternative to terminating the Subcontract as provided in Subsection 15(iii) below , and upon 48 hours further written notice, remedy the default by
whatever means KC may deem necessary or appropriate, including, but not limited to, correcting, furnishing, performing or otherwise completing the Work, or any
part thereof, by itself or through others (utilizing where appropriate any materials and equipment previously purchased for that purpose by Subcontractor) and
deducting the cost thereof (plus an allowance for administrative burden equal to fifteen percent (15%) of such costs) from any monies due or to become due to
Subcontractor hereunder;

(iii) terminate Subcontractor’s performance under this Subcontract, without thereby waiving or releasing any rights or remedies against Subcontractor or its
sureties, and by itself or through others take possession of the Work, and all materials, equipment, facilities, plant, tools, scaffolds and appliances of Subcontractor
relating to the Work, for the purposes of completing the Work and securing to KC the payment of its costs (plus an allowance for administrative burden equal to
fifteen (15%) percent of such costs) and any other damages caused by Subcontractor, it being intended that KC shall, for the stated purposes, be the assignee of and
have a security interest in the property described above to the extent located on the Project site (and KC may at any time file this Subcontract as a financing
statement under applicable law); and

(iv) recover from Subcontractor all losses, damages, penalties and fines, whether actual or liquidated, direct or consequential, and all reasonable attorneys' fees
suffered or incurred by KC or by reason of or as a result of Subcontractor’s default or KC’s actions hereunder.

The foregoing remedies shall be considered separate and cumulative and shall be in addition to every other remedy given hereunder or under the Contract
Documents, or now or hereafter existing at law or in equity including KC’s right of setoff and collection of any funds which may be due Subcontractor under this or
any other subcontract with KC, or any of its affiliates, divisions or joint ventures.

After completion of the Work by the exercise of any one or more of the above remedies and acceptance of the Work and payment therefor by Owner and/or GC, KC
shall promptly pay Subcontractor any balance of the Subcontract Price. In the event a termination of Subcontractor’s performance under this Subcontract for default
is subsequently determined by an arbitration panel or a court of competent jurisdiction to be wrongful, then such termination shall be deemed to have been a
terminated by KC without cause under the provisions of Paragraph 30, Termination for Convenience, and the compensation due Subcontractor, if any, shall be
determined accordingly.

Except as limited by this Subcontract, Subcontractor shall have the rights and remedies available at law or in equity for a breach of this Subcontract by KC. Any default
by shall be deemed waived unless Subcontractor shall have given KC written notice thereof within seven (7) days after the occurrence of such default. Subcontractor
shall not be entitled to stop the Work or terminate this Subcontract on account of KC’s failure to pay an amount claimed due hereunder (including changed or extra
work) so long as Subcontractor shall not have adequately substantiated the amount due or so long as a good faith dispute exists as to the amount due. Subcontractor
shall not be entitled to stop the Work on account of a default by KC.

16. EXTRA WORK. Only extra work authorized by KC as an extra in writing shall be paid for. If the extra work does not originate from Owner's or GC's direction and
there is not prior agreement on price then Subcontractor shall be paid for the costs of said work plus ten percent (10%) for overhead, profit, supervision and small
tools, which will constitute the entire amount due to Subcontractor for the extra work.

17. OWNER/GC CHANGES. Changes ordered or extra work directed by Owner and/or GC shall be performed and paid for in accordance with the applicable terms of
the Contract Documents including all rights of dispute and appeal, provided reservation and exercise of said rights do not interfere with the progress of the Work. If
the work of several parties is included in one change, Subcontractor will receive its prorated share of the change order amount settled with the Owner/GC as
determined by KC.

18. CONTRACT INTERPRETATION. KC’s interpretation of Subcontract requirements shall be binding upon Subcontractor and complied with except that
Subcontractor shall have the right to claim adjustment of the Subcontract amount because of said interpretation, only if Subcontractor disputes in writing, said
interpretation within five (5) days after receiving said interpretation and/or directive from KC.

19. DISPUTES. In the event of any dispute or claim by Subcontractor hereunder, notice in writing of such dispute or claim shall be given to KC no later than seven (7)
days following the event, decision or other action out of which the claim arises, or such lesser period as may be required under the Contract Documents. Such notice

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shall describe such dispute or claim in detail. If Subcontractor fails to provide such written notice, the claim or dispute and all monetary and other relief associated
therewith shall be deemed as waived and abandoned by Subcontractor.

A.          If any such claim or dispute as to which notice is given by the Subcontractor as above provided arises in whole or in part out of the Contract Documents or
an act or omission of the Owner or GC, or any other claim for which the Owner and/or GC may have responsibility then Subcontractor’s rights as to such dispute or
claim shall be determined solely by applicable provisions of such Contract Documents including any dispute procedures therein. In the event that it is necessary to
commence any action or proceeding against the Owner or GC to implement Subcontractor’s rights as above described, then KC agrees to, in its sole discretion, either
initiate such proceeding on Subcontractor’s behalf, or permit Subcontractor to initiate such proceeding in KC’s name, upon Subcontractor’s written request; provided,
however that Subcontractor shall provide any certifications required by the Contract Documents. Subcontractor, and its sureties, shall be bound to KC to the same
extent that KC is bound to Owner and/or GC by the Contract Documents and by any decisions or determinations made under the Contract Documents by any board,
court or arbitration panel. Nothing herein shall require KC to certify a claim under a government contract when it cannot do so in good faith. Subcontractor shall be
responsible for the prosecution of any such proceeding at its own cost and expense.

B. If any such claim or dispute as to which notice is given by the Subcontractor as above provided does not involve the Contract Documents, or acts or omissions of
the Owner, or GC then it shall be determined as follows: KC shall render a written decision within 30 days from receipt of the written notice of such claim or dispute.
If Subcontractor does not accept or agree with such decision (or any part thereof) it shall so notify in writing KC within seven (7) days and the parties shall exert
reasonable and good faith efforts to reach a satisfactory resolution. If Subcontractor fails to so notify in writing KC within seven (7) days said claim or dispute shall be
considered waived by Subcontractor. If such efforts are unsuccessful, then either party may elect to commence a legal action against the other in an appropriate
court of law consistent with the provisions of Paragraph 36 herein. Alternatively, KC may in its sole discretion, elect to initiate formal arbitration of such claim or
dispute in accordance with the Construction Industry Rules of the American Arbitration Association and the parties agree to be bound by and to comply fully with the
decision rendered in such arbitration which shall be final and may be entered in any court of competent jurisdiction.

Subcontractor agrees that any cause of action which it may have against KC and its surety on a payment bond, or against the GC and its surety on a payment bond,
shall be stayed after any such payment bond action is filed in court, pending exhaustion of the disputes remedies referenced herein. The parties agree that this
provision shall not be considered a waiver of Subcontractor’s payment bond rights but an agreement that those rights will be enforced in a court only after the
disputes procedures referenced herein are exhausted. This provision shall be for the benefit of KC’s surety or the GC’s surety, regardless of whether KC or the GC is
made parties to the payment bond action.

The pendency of any such claim or dispute shall not suspend or stay in any manner the obligations under this Subcontract and Subcontractor shall continue the Work
hereunder without interruption.

DUE TO THE SPECIALIZED NATURE OF CONSTRUCTION LITIGATION, EACH PARTY WAIVES ITS RIGHT TO A TRIAL BY JURY, INCLUDING ANY SUIT AGAINST KC’S PAYMENT
BOND SURETY OR GC’S PAYMENT BOND SURETY.

20. ENCUMBRANCES. Subcontractor shall turn the Work over to KC in good condition and free and clear of all claims, encumbrances, or other liens and shall
defend, indemnify and hold harmless KC and GC/Owner from all claims, encumbrances or liens arising out of the performance of the Work. The Subcontractor shall,
at its own cost and expense (including attorney’s fees), defend all suits to establish such claims, and pay any such claims or liens so established. In the event of failure
by the Subcontractor to comply with this requirement, KC may, at its sole discretion, bond off or take such other measure to secure the release of any such
encumbrances or liens, and all costs of such action(s), including attorney’s fees incurred by KC, shall be charged to the account of the Subcontractor.

In the event a subcontractor or supplier to Subcontractor shall file a claim of nonpayment against KC’s payment bond or file a lien against the Project, the
Subcontractor shall obtain the withdrawal of the claim of nonpayment or bond off the lien within ten (10) days of its receipt of a demand to do so by KC.
Subcontractor’s failure to comply with such a demand shall constitute an event of default in accordance with Paragraph 15, entitling KC to all remedies there
provided, including the right to terminate this agreement.

Subcontractor shall, as often as requested by the Owner or by KC, furnish a sworn statement identifying all parties who have furnished or are furnishing labor or
materials to the Subcontractor with their names and addressed and amounts due or to become due each of them. Like statements may, at KC’s option, be required
from any sub- subcontractors or suppliers of the Subcontractor.

Subcontractor shall furnish KC, if requested, evidence of the payment of all bills and expenses incurred by the Subcontractor for labor, services, equipment and
materials used by the Subcontractors, or any other liability incurred by the Subcontractor in any way, for the purpose of using the same on or about the Project. If
requested by KC, Subcontractor shall also furnish written releases, in form acceptable to KC, from all persons, firms, or corporations that have furnished to the
Subcontractor, any labor, services, equipment and materials, whether on or for the Project, and written releases of liens and claims of nonpayment, in a form
acceptable to KC, from all persons, firms and corporations that may have in any way had any dealings or agreements in connection with the Work of the
Subcontractor.

Any and all transportation tax, sales tax, use tax or any other tax that might accrue through the purchase of materials or amounts paid for labor by the Subcontractor
or occasioned by performance of this Agreement, shall be borne and paid for by the Subcontractor, and are included in the Subcontract Amount.

21. BACKCHARGES. All backcharges assessed by KC against the Subcontractor shall be deemed accepted unless rejected in writing within seven (7) days. A 10%
administrative fee will be added to the cost of all backcharges and paid by Subcontractor.

22. PLANT AND CLEANUP. Subcontractor shall provide its own plant and facilities, including scaffolding and hoists, do its own cleanup and repair or replace its
damaged, defective and defaced work. The Subcontractor shall cleanup and remove from the site all of its rubbish, debris, etc. on a daily basis, unless KC directs
otherwise. Upon completion of the Subcontract work, Subcontractor must immediately remove all Subcontractor’s materials, equipment, etc. from the jobsite.
Failure to comply will permit KC to do so and backcharge Subcontractor for the cost. If Subcontractor uses KC's hoists, scaffolding or facilities, it will be responsible for
the operating expenses of such equipment when in use for Subcontractor's benefit and shall use any such hoists, scaffolds or facilities as is, at its own risks.


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23.         BANKRUPTCY AND DELINQUENT TAXES. In the event of Subcontractor’s bankruptcy , receivership, insolvency, general assignment for the benefit of
creditors or of claims filed against KC or its surety or notices or levies involving tax delinquencies being served upon KC by reason of Subcontractor’s non-payment
thereof, KC shall have the right to withhold payments due Subcontractor hereunder or under any other subcontract with KC, or any of its affiliates, divisions or joint
ventures and apply the same to secure performance of the Subcontract and shall be further entitled to reimbursement from Subcontractor for any and all losses and
expenses, including reasonable counsel fees incurred as a result of such event without prejudice to all other rights against Subcontractor or its surety. It is further
recognized that, such event or events could impair or frustrate Subcontractor's performance of this Subcontract. Accordingly, it is agreed that upon the occurrence of
any such event, KC shall be entitled to request of Subcontractor or its receiver or court-appointed successor adequate assurances of future performance. Pending
receipt of adequate assurances of performance and actual performance in accordance therewith, Contractor shall be entitled to take over the Work pursuant to the
provisions of Article 15 above following notice to Subcontractor.




24. RESPONSIBILITY FOR WORK IN PLACE. The Subcontractor shall check all work performed by others necessary to receive the Subcontractor's work. Failure to
give notice of any discrepancy shall relieve KC of any responsibility therefor. The Subcontractor shall be responsible for all field measurements and shall check
elevation and grades to insure proper fitting of its work. It shall not be incumbent upon KC to discover any mistakes, errors, omissions, or deviations from the
Contract Document requirements in the Subcontract drawing and the Owner's or GC's final approval of drawings made by the Subcontractor shall not relieve the
Subcontractor from responsibility for unauthorized changes, deviations or omissions or for errors any sort in its drawings.

25. LICENSES AND FEES. Subcontractor shall be responsible for all taxes, permits, licenses and fees necessary to perform its work, including any increase therein, if
any, during the life of the Subcontract.

26. LABOR FORCE. Subcontractor shall be responsible for performance regardless of any interference of any trades council or other or union organization. Any work
stoppage by employees, which will unreasonably delay the work, will be a breach of the Subcontract subject to the rights set forth in paragraph 15.

27. NONDISCRIMINATION. Subcontractor shall not discriminate against any employee for employment, advancement, transfer, layoff or termination because of
race, religion, color, sex, marital status, disability or national origin. All Equal Opportunity or affirmative action requirements of the Contract Documents shall be
obligations of the Subcontractor.

28. SUPERINTENDENCE. Subcontractor shall employ on the jobsite, a competent superintendent, satisfactory to KC with full authority to act on Subcontractor's
behalf. KC shall have the right to require replacement.

29. PATENT INFRINGEMENT. Subcontractor shall indemnify KC from any use or infringement of patents.

30. TERMINATION FOR CONVENIENCE. KC shall have the right to terminate this Subcontract for its own convenience for any reason by giving notice of termination
effective upon receipt thereof by Subcontractor. Termination for default under Paragraph 15, if wrongfully made, shall be treated as a termination for convenience
under this Article. Settlement of the Subcontract shall be accomplished in accordance with the provisions of the Termination for Convenience clause in the Contract
Documents. If none, the Subcontractor shall be paid only the actual cost for work and labor in place, plus ten percent (10%), or a prorata percentage of the
Subcontract Price equal to the percentage of Work in satisfactory completion, whichever is less. Subcontractor shall not be entitled to anticipated profits or
unallocated overhead on unperformed portions of the Work or any other consequential or direct damages of any kind or description.

31. ASSIGNMENT. No assignment hereunder is allowed without written approval of KC.

32. NOTICES. All notices required under this Subcontract or the Contract Documents shall be addressed to KC's office at the location set forth above. Notices
required by the various provisions of the Contract Documents (not otherwise dealt with herein) shall be due in KC's office in one half (1/2) the time specified in the
Contract Documents so that KC will have sufficient time to forward its notice within the required period. Failure of Subcontractor to forward notices in a timely
manner as required by the various provisions of the Contract Documents shall operate to waive its rights to any adjustments in Subcontract Price or time if the
Owner/GC rejects the claim.

33. OWNER AND/OR GC APPROVAL. Where applicable under the Contract Documents, this Agreement is contingent upon Subcontractor or its product being
approved by Owner and GC. If a disqualification occurs because of failure to comply with and strictly fulfill the obligations herein said failure shall be deemed a breach
by the Subcontractor.


34.         RECITATION AND SEVERABILITY. Attachments are part of this Agreement. If this Agreement is retained by Subcontractor without executing and returning
same within ten (10) days, it shall be deemed accepted; however, acceptance in writing is a condition precedent to payment due hereunder. The Subcontractor shall
not deal directly with or work directly for Owner and/or the GC on this project. This instrument is the entire Agreement between the parties. KC assumes no
responsibility for any understandings or representations made by any of its officers or agents prior to the execution of this Subcontract, unless such understandings
or representations by KC are expressly set forth in this Subcontract. Unless specifically referenced herein and attached hereto, no proposals or terms of any nature
submitted by Subcontractor prior to the execution of this Subcontract shall be of any effect. If any provision herein is held to be invalid by any competent court, the
remaining Agreement shall survive. This Agreement shall control any inconsistency in any documents referred to or incorporated by reference.

35.        SAFETY. A. Subcontractor shall comply with OSHA and State equivalent standards and requirements and shall indemnify KC, GC and Owner from any
failure to do so, including fines and abatement costs and delays to project. Failure to comply shall be a breach of contract, subject to the provisions
of Paragraph 15. Subcontractor shall comply with all safety requirements imposed by KC, the GC or the Owner in addition to safety requirements imposed by law
and will conduct operations in a safe manner. Subcontractor shall be liable to KC for any additional costs KC incurs as a result of Subcontractor's failure to operate

                                                                                                                                                    Page 6 of 7
                                                                                                                                                       Sub___
                                                                                                                                                         KC__ MP
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safely. KC may conduct safety inspections from time to time. Such inspections shall not relieve Subcontractor from its obligations to adhere to safety requirements
nor shall such inspections create any KC liability.

      B. Subcontractor shall adopt KC's Drug Free Workplace Policy or a substantially similar policy which satisfies any applicable laws and/or provisions of the
Contract Documents, for its employees, agents or representatives who come onto the jobsite and shall require its subcontractors and suppliers who come onto the
jobsite to do likewise. KC reserves the right to bar Subcontractor or its employees from the jobsite if Subcontractor fails to enforce KC's policy or a substantially
similar policy. Copies of KC's Drug Free Workplace Policy will be made available upon request.

36. GOVERNING LAW AND DISPUTES FORUM. This Subcontract shall be governed by the laws of the state where KC’s office address is located as set forth above.
Any suit, action or proceeding permitted under this Subcontract and initiated by one of the parties hereto against the other on any matters whatsoever rising out of
or in connection with this Subcontract, shall be filed and maintained in the state where KC’s office address is located as set forth above, or at KC’s sole option, in the
state or federal court nearest the Project site.




37. INCORPORATION OF THE REQUIREMENTS OF THE AMERICAN RECOVERY AND REINVESTMENT ACT OF 2009 (ARRA).
Subcontractor acknowledges that the Prime Contract for this project is / may be subject to the requirements of Public Law 111-5, the American Recovery and
Reinvestment Act of 2009 (the "Act") and the implementing FAR regulations (hereafter "FAR Requirements"), including but not limited to FAR 4.15 (American
Recovery and Reinvestment Act - Reporting Requirements), FAR 52.203-15 (Whistleblower Protections under the American Recovery and Reinvestment Act of 2009),
FAR 52.204- 11 (American Recovery and Reinvestment Act - Reporting Requirements), FAR 52.215-2 (Audit and Records - Negotiation) and FAR 52.225-21 (Required
use of American Iron, Steel and Manufactured Goods - Buy American Act - Construction Materials). In performing its work on the Project, Subcontractor agrees to
comply with the Act and the FAR Requirements. Subcontractor specifically covenants and agrees to provide to KC, whenever requested by KC but not less than on a
quarterly basis, all




ACCEPTED BY:
 L&J Contractors, Inc.                                                       KOMAN Construction, LLC
(Print Subcontractor Name)
                                                                                                       Mike Porterfield
By: Lucas J. Robinson                                                         Robert Matthew Yates
(Print Name of Signing Authorized Subcontractor Representative)              (Print Name of Signing Authorized Representative)
                                                   / President                                                                   General Manager
(Signature, Title)                                                           (Signature, Title)
DATE:                                                                         DATE:    12-21-18




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                                                                                                                                                        Sub___
                                                                                                                                                          KC__MP
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                                               ATTACHMENT “A”

                                                SCOPE OF WORK
                                             L&J CONTRACTORS, INC.
The Subcontractor shall provide all labor, materials, supervision, tools, equipment, scaffolding, hoisting etc., to
deliver and install (General Trades) including, but not limited to, the following:

   Builders’ Liability Insurance.
   E-Verify: This Subcontract Agreement/Material Supplier Agreement incorporates all FAR provisions included
    in or incorporated by reference into the contract documents, including specifically, but not limited to FAR
    52.222-54 – Employment Eligibility Verification. If this Subcontract Agreement or Material Supplier
    Agreement exceeds $3,000, Subcontractor/Vendor must enroll in the E-Verify program as provided by and
    within the timeframes required by FAR 52.222-54. Subcontractor/Vendor shall ensure that all employees
    assigned to the project are processed through the E-Verify system. Subcontractor/Vendor shall provide KC
    with written confirmation of its enrollment in the E-Verify program. Failure to comply with this clause shall
    constitute a default under the Subcontract Agreement/Material Supplier Agreement. The website address for
    enrollment is https://e-verify.uscis.gov/enroll/. All personnel working on the jobsite must be enrolled. Once
    enrollment is complete, print out the enrollment verification sheet and submit to the onsite project manager.
   Coordinate all work through the KOMAN Construction, LLC. (hereafter KC) onsite project manager,
    especially in the scheduling of outages and tie-in to existing utilities. Off-hour construction must be taken into
    consideration with regard to noise level.
   Obtain and maintain required permits for your work.
   All testing and inspection for your work. One (1) original and three (3) copies of test and inspection reports are
    to be provided to KC, onsite project manager.
   Daily clean up of all demolition and construction debris from your work.
   Designate a Project Manager or working superintendent.
   Construction fencing, signage and security for material storage as required for your work.
   Red line as built drawings within twenty (20) working days of the completion date of your work. As built
    drawings are to be updated continuously and is a monthly payment requirement throughout the project.
   Operation and Maintenance Manual material within thirty (30) working days after receiving approved
    submittals, and are a payment requirement throughout the project. Provide one hard copy and one electronic
    (pdf) copy of all materials.
   Submit testing plan for your portion of the work to the KC project manager not later than (30) days prior to the
    completion of your work.
   Progress schedule outlining the critical path and a schedule of values showing all items of work, within ten (10)
    working days of subcontract award. Schedules (including Schedule of Values) shall include Operation and
    Maintenance Manual materials, As Built drawings, and Closeout documents.
   Cutouts / openings as required for completion of your work.
   Restore disturbed exterior areas to original condition.
   Submit all material data and shop drawings required by the task order/submittal register. Forward submittal
    packages to onsite Project Manager or as otherwise directed.
   Coordinate all utility requirements for Government-furnished equipment with the KC onsite project manager.
   Provide as-built quantities to help in determining the real property value of the work.
   All ambiguities within the documents require the Contractor to furnish/install the most costly.



                                                                                                             Sub_____
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                                                                                                             KC_____
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   Certified payrolls to be submitted on a weekly basis including all sub-subcontractors to the appropriate KC
    personnel for processing. Labor rates are based on Davis Bacon Wage Determination #_TX180336_,
    modification _01_, dated _09/14/2018_.
   Subcontractor will abide by the KC Site Specific Accident Prevention Plan (APP) and Site Specific Quality
    Control Plan (QCP) for the duration of the subcontract.
   All cost changes and/or deviation to this Contract/Project must be approved in writing by the KC, General
    Manager, Matthew Yates, prior to the commencement of such work.
   All SDS will be provided before delivering products on site. SDS to be provided under separate cover.
   Personal protective equipment will be utilized always, to include hard hat, gloves, safety vest, and safety
    glasses.
   Provide all submittals required by the submittal register and or specifications. Send submittal packages to the
    onsite Project Manager or as otherwise directed in writing within 10 days of a signed contract.
   The contractor is contractually obligated to the Work Plan once it has been submitted to the government for
    review. The subcontractor will be provided plans as they are designed and will be provided a 4-day opportunity
    to comment on any changes in the plans that are not part of their contract. Once the 4-working day review
    period is complete the plans will be submitted to the government and the subcontractor will be held to the plans
    and specifications as part of their contract.
   Once the subcontractor and General contractor agree to a schedule and durations the subcontractor must
    maintain the schedule to include increased manpower or overtime; work over the weekend must be scheduled
    by Wednesday and many times is not allowed if the subcontractor fails to work during the normal work week.
   Smoking is only allowed in the designated smoking area. Violation of this is grounds for removal from the
    site.
   Each Submittal should have a cover page that includes your company information, the spec number from the
    Work Plan, description of the product, and any notes or deviations.
    If there are different options within the submittal the product you will be using will need to be clearly marked.
    Submittals should be reviewed by your company before turning them in to KC. Requirements from the
    specification should be highlighted within the submittal to draw our attention to the items (i.e. minimum
    capacity, maximum VOC, etc.)
    Minimum required amount of copies:
          1 electronic copy of everything
          4 hard copies of data
          4 samples or color charts
          5 hard copies of drawings
   *These are minimum requirements. Additional copies may be required depending on how many people have to
    review the submittal, clarification will be provided by KC if requirements deviate from above.
   KC normal business hours are five days a week, 8 hours a day (Monday through Friday) unless otherwise
    required for shutdowns and working around the facility. Or unless other arrangements are approved by KC’s
    Superintendent by Wednesday of that week.
   No flammable liquids will be stored in the building overnight, if left on site an approved storage locker and
    signage must be used
   Weekly Safety Meeting are on Monday and must be attended by your onsite staff whenever you have ongoing
    site work.
   A completed and signed STS will be provided by your site superintendent daily, and prior to start of daily
    activities.
   All temporary utilities and facilities required for your work temporary 110V electrical outlets and lighting to be
    provided inside the building by electrical contractor within 100’ of all work, 1 working water spigot will be
    provided by the plumbing contractor within the building or within 50’ of the building.
   THIS PROJECT BOD DATE IS April 30, 2019

                                                                                                           Sub_____
                                                                                                                MP
                                                                                                           KC_____
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Install all concrete footer, pads mezzanine concrete and associated work.
Install all building framing, insulation, backer, casework, sheetrock, paint, doors, Dr. HDWR., flooring,
concrete, ceilings, misc. trim, exterior excavation, landscape, demolition, all bolts for steel structures,
coordination with other trades, fire proofing, caulking, and any additional work associated with general
trades.



EXCLUSIONS

Proposal exclusions: electrical, structural steel framing or roof repairs, high voltage electrical work, roof patching,
mechanical, plumbing, dumpsters, fire alarm, IT, telecom, payment and performance bond and sales tax.


SUBCONTRACTOR RECOGNIZES THAT THE WORK IS BEING PERFORMED IN A FULLY FUNCTIONING GOVERNMENT
FACILITY AND THAT THE GOVERNMENT FACILITY MUST REMAIN IN OPERATION WITH MINIMAL INTERRUPTION
FROM THE CONTRACTORS. SUBCONTRACTOR SHALL INCLUDE THE COST OF PERFORMING CONNECTIONS TO
EXISTING SYSTEMS AND ANY WORK IN OCCUPIED AREAS DURING OFF/NON-DUTY HOURS, AND SHALL INCLUDE THE
COST OF OCCASIONAL WORK INTERRUPTIONS FROM GOVERNMENT FACILITIES OPERATIONS. SUBCONTRACTOR
SHALL COOPERATE FULLY WITH GOVERNMENT FACILITIES PERSONNEL TO MINIMIZE CONFLICTS AND TO
FACILITATE USAGE OF THE GOVERNMENT FACILITY.




THIS SCOPE OF WORK IS FOR ALL WORK SHOWN, SPECIFIED OR REASONABLY INFERABLE FROM THE CONTRACT
PLANS AND SPECIFICATIONS REQUIRED TO PROVIDE A COMPLETE OPERATING FACILITY , INCLUDING BUT NOT
NECESSARILY LIMITED TO THE ABOVE LISTED ITEMS .

SUBCONTRACTOR RECOGNIZES THE DESIGN/BUILD NATURE OF THE PROJECT AND UNDERSTANDS THAT THE
SCOPE OF WORK INDICATES THE MAIN WORK TO BE ACCOMPLISHED AND THAT ALL DETAILS AND SPECIFICS ARE
NOT NECESSARILY SHOWN OR SPECIFIED. SHOULD ADDITIONAL ARCHITECTURAL OR ENGINEERING WORK BE
REQUIRED BY THE SUBCONTRACTOR TO CONSTRUCT THE PROJECT THAT COST WILL BE BORNE BY THE
SUBCONTRACTOR. NO ADDITIONAL DESIGN DOCUMENTS WILL BE FURNISHED BY KOMAN CONSTRUCTION,
LLC. THERE WILL BE NO CHANGE ORDERS UNLESS NEW AREAS AND /OR WORK ARE ADDED BY THE CUSTOMER.




                                                                                                              Sub_____
                                                                                                                   MP
                                                                                                              KC_____
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                                          ATTACHMENT “B”

                     LIST OF CONTRACT DRAWINGS AND SPECIFICATIONS
                SAN ANGELO AIR UNIT ELECTRICAL INFRASTRUCTURE & BUILDING REPAIRS


Contract No. 70B01C18C00000160 Dated 9/25/2018

     DAVIS BACON WAGE DETERMINATION: TX180336 MODIFICATION 01, DATED 09/14/2018
     PROJECT SCHEDULE DATED 11/28/2019
     Statement of Work (SOW) Project Name: FA DRT San Angelo Air Unit Electrical Infrastructure & Building
     Repairs San Angelo Air Unit 8092 Hanger Road, San Angelo, Texas 76904
     Project Drawings Dated 11/14/2018




     THE CONTRACT DOCUMENTS LISTED ABOVE HAVE BEEN PROVIDED TO THE SUB-
     CONTRACTOR FOR REVIEW AND ARE INCLUDED IN THE PRICING OF THE ATTACHED
     CONTRACT.

                                                                                              Sub_____
                                                                                                   MP
                                                                                              KC_____
                                                                         Case 3:20-cv-00252-KC Document 1-4 Filed 10/01/20 Page 19 of 20
 U.S. Department of Labor                                                                                                                 PAYROLL
 Wage and Hour Division                                                  (For Contractor's Optional Use; See Instructions at www.dol.gov/whd/forms/wh347instr.htm)
                                                                            Persons are not required to respond to the collection of information unless it displays a currently valid OMB control number.                                                           Rev. Dec. 2008
 NAME OF CONTRACTOR                      OR SUBCONTRACTOR                                                                                      ADDRESS
                                                                                                                                                                                                                                                                   OMB No.:1235-0008
                                                                                                                                                                                                                                                                   Expires: 04/30/2021
 PAYROLL NO.                                                               FOR WEEK ENDING                                                     PROJECT AND LOCATION                                                                  PROJECT OR CONTRACT NO.



                            (1)                               (2)                (3)                             (4) DAY AND DATE                (5)           (6)              (7)                                                                                                   (9)
                                                                                                                                                                                                                                  (8)
                                                                                                                                                                                                                              DEDUCTIONS




                                                           WITHHOLDiNG




                                                                                                 OT. OR ST.
                                                           EXEMPTIONS
                                                                                                                                                                                                                                                                              NET
   NAME AND INDIVIDUAL IDENTIFYING NUMBER                                                                                                                                      GROSS                      WITH-                                                              WAGES

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  (e.g., LAST FOUR DIGITS OF SOCIAL SECURITY                                 WORK                                                              TOTAL         RATE             AMOUNT                     HOLDING                                                   TOTAL      PAID
              NUMBER) OF WORKER                                          CLASSIFICATION                       HOURS WORKED EACH DAY            HOURS        OF PAY            EARNED          FICA         TAX                                       OTHER       DEDUCTIONS FOR WEEK
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While completion of Form WH-347 is optional, it is mandatory for covered contractors and subcontractors performing work on Federally financed or assisted construction contracts to respond to the information collection contained in 29 C.F.R. §§ 3.3, 5.5(a). The Copeland Act
(40 U.S.C. § 3145) contractors and subcontractors performing work on Federally financed or assisted construction contracts to "furnish weekly a statement with respect to the wages paid each employee during the preceding week." U.S. Department of Labor (DOL) regulations at
29 C.F.R. § 5.5(a)(3)(ii) require contractors to submit weekly a copy of all payrolls to the Federal agency contracting for or financing the construction project, accompanied by a signed "Statement of Compliance" indicating that the payrolls are correct and complete and that each laborer
or mechanic has been paid not less than the proper Davis-Bacon prevailing wage rate for the work performed. DOL and federal contracting agencies receiving this information review the information to determine that employees have received legally required wages and fringe benefits.

                                                                                                                    Public Burden Statement
We estimate that is will take an average of 55 minutes to complete this collection, including time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of information. If you have
any comments regarding these estimates or any other aspect of this collection, including suggestions for reducing this burden, send them to the Administrator, Wage and Hour Division, U.S. Department of Labor, Room S3502, 200 Constitution Avenue, N.W.
Washington, D.C. 20210

                                                                                                                              (over)
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Date
                                                                                                                          (b) WHERE FRINGE BENEFITS ARE PAID IN CASH

I,                                                                                                                                       − Each laborer or mechanic listed in the above referenced payroll has been paid,
               (Name of Signatory Party)                                           (Title)                                                  as indicated on the payroll, an amount not less than the sum of the applicable
do hereby state:                                                                                                                            basic hourly wage rate plus the amount of the required fringe benefits as listed
                                                                                                                                            in the contract, except as noted in section 4(c) below.
       (1) That I pay or supervise the payment of the persons employed by
                                                                                                                          (c) EXCEPTIONS
                                                                                                       on the
                                  (Contractor or Subcontractor)                                                                       EXCEPTION (CRAFT)                                     EXPLANATION
                                                          ; that during the payroll period commencing on the
                 (Building or Work)
            day of                    ,       , and ending the           day of                   ,         ,
all persons employed on said project have been paid the f ull weekly wages earned, that no rebates have
been or will be made either directly or indirectly to or on behalf of said

                                                                                                  from the full
                                   (Contractor or Subcontractor)
weekly wages earned by any person and that no deductions have been made either directly or indirectly
from the full wages earned by any person, other than permissible deductions as defined in Regulations, Part
3 (29 C.F.R. Subtitle A), issued by the Secretary of Labor under the Copeland Act, as amended (48 Stat. 948,
63 Stat. 108, 72 Stat. 967; 76 Stat. 357; 40 U.S.C. § 3145), and described below:




                                                                                                                     REMARKS:


     (2) That any payrolls otherwise under this contract required to be submitted for t he above period are
correct and complete; that the wage rates for laborers or mechanics contained therein are not less than the
applicable wage rates contained in any wage determination incorporated into the contract; that the classifications
set forth therein for each laborer or mechanic conform with the work he performed.

     (3) That any apprentices employed in the above period are duly registered in a bona fide apprenticeship
program registered with a State apprenticeship agency recognized by the Bureau of Apprenticeship and
Training, United States Department of Labor, or if no such recognized agency exists in a State, are registered
with the Bureau of Apprenticeship and Training, United States Department of Labor.

     (4) That:
           (a) WHERE FRINGE BENEFITS ARE PAID TO APPROVED PLANS, FUNDS, OR PROGRAMS                                  NAME AND TITLE                                       SIGNATURE


                     − in addition to the basic hourly wage rates paid to each laborer or mechanic listed in
                        the above referenced payroll, payments of fringe benefits as listed in the contract          THE WILLFUL FALSIFICATION OF ANY OF THE ABOVE STATEMENTS MAY SUBJECT THE CONTRACTOR OR
                        have been or will be made to appropriate programs for the benefit of such employees,         SUBCONTRACTOR TO CIVIL OR CRIMINAL PROSECUTION. SEE SECTION 1001 OF TITLE 18 AND SECTION 231 OF TITLE
                                                                                                                     31 OF THE UNITED STATES CODE.
                        except as noted in section 4(c) below.
